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atop

This is to confirm that I will receive 350 million tokens out of the user pool and relinquish my right to participate in ne. sent me 10,000 ether and is keeping 70 million out of my total tokens which equal 350 million
out of the user pool, 1.35 billion earned from the storm raise not subject to any lockup and 900 million storm earned from the raise subject to a two year lockup from the date of our previous agreement or a total of 2.6 billion tokens due to
me. I can choose to repay the loan of the 10k ether or simply forfeit 70 million tokens in satisfaction of the loan instead at any point. Please confirm if this is correct.

Sent from my iPhone. Apologies for misunderstandings or typos due to the spell checker.

